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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:10CR334
                              )
          v.                  )
                              )
JUAN PABLO MANCILLAS-RAMIREZ, )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue (Filing No. 119).       The Court finds the motion should

be granted.   Accordingly,

           IT IS ORDERED that defendant’s motion is granted;

defendant shall have until March 25, 2011, to file motions for

departure, deviation or variance in this matter.

           DATED this 21st day of March, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
